   Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 1 of 12




                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                        STATESBORO DIVISION
JANARIO SMOKES,                   )



                                  )



       Movant,                    )



                                  )




                                  )
                                             CV616-161
                                  )          CR615-OO1
UNITED STATES OF AMERICA,         )



                                  )



       Respondent.

                     REPORT AND RECOMMENDATION

       Janario Smokes pled guilty to a drug charge and received a 151

month sentence on October 21, 2015. CR615-001, doc. 247. He did not

appeal his conviction but now seeks to collaterally challenge his

sentence through ineffective assistance of counsel claims. Docs. 343 &

344.

I. BACKGROUND

       At his plea hearing, the Court read the charges in the indictment

and confirmed he understood what the Government would have to do to

convict him of those charges. Doe. 348 at 6-7, 12. The Court further

clarified that by pleading guilty to the lesser included offense of

conspiracy to possess with intent to distribute a controlled substance

(cocaine), he was admitting that the "essential elements" of the offense
      Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 2 of 12




were "satisfied." Smokes swore he understood and that, indeed, they

were. Id. at 12. The Court explained the rights he was giving up by

pleading guilty, including the rights to a trial, to put forth a defense,

and to remain silent, and confirmed that he understood. Id. at 7-9, 14-

15.

       The Court also explained the possible sentences he could face for

pleading guilty and that he would be sentenced under the advisory

Sentencing Guidelines. Smokes again testified he understood. Doc. 348

at 9-10, 13-14. He testified that he had not been forced or pressured

into pleading guilty (Id. at 3), that no one had promised him an exact

sentence (Id. at 14), that his retained counsel had fully reviewed the

indictment and plea agreement with him (Id. at 9, 14-), and that he was

satisfied with his attorney's representation (Id. at 10). The Court

reviewed the terms of the plea agreement, including his waiver of the

rights both to appeal his case directly and to collaterally attack his

sentence. Id. at 16-19. Smokes confirmed it was his intention to do so.

Id.

       The Court thus concluded that Smokes' guilty plea was knowing

and voluntary; he affirmed that it was. Doc. 348 at 20;             see also

                                       2
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 3 of 12




Blackledge v. Allison, 431 U.S. 63, 73-74 (1977) ("Solemn declarations

in open court carry a strong presumption of verity."); accord United

States v. Gonzalez-Mercado,     808 F.2d 796, 800 n. 8 (11th Cir. 1987)

("While Rule 11 is not insurmountable, there is a strong presumption

that the statements made during the colloquy are true."); United States

v. Spitzer, 785 F.2c1 1506, 1514 n. 4 (11th Cir. 1986) ("[I]f the Rule 11

plea-taking procedure is careful and detailed, the defendant will not

later be heard to contend that he swore falsely.").

     The United States Probation Office then prepared a Presentence

Investigation Report (PSR), finding a base offense level of 30 pursuant

to U.S.S.G. § 2D1.1(c)(6), based on a conservative attribution of "at least

1,524.06 kilograms of marijuana" attributable to Smokes for his role in

the trafficking enterprise. PSR      TT 4-7, 13, 18. Smokes' criminal
history, however, set his offense level at 32.     Id. at ¶ 19, 31-32. For

acceptance of responsibility, he was given a three-level reduction,

leaving a total offense level of 29. Id. at ¶   20-22. With that level and

criminal history category of VI, the advisory guideline range under the

PSR was 151 to 188 months, with a statutory maximum of 20 years. Id.

at ¶J 50 & 51; see 21 U.S.C. § 846 & 841b)(1)(C). Smokes' objections

                                     3
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 4 of 12




were resolved prior to sentencing (PSR, Addendum); at sentencing he

testified that he had read and discussed the PSR with his attorney and

that he had no remaining objections. Doe. 341 at 5.

     The Court adopted the PSR's findings of fact and Guidelines

calculations.    Based on counsel's argument regarding Smokes'

ephemeral, minor role in the enterprise, and nonviolent criminal

history, it imposed a 151-month sentence, which was at the lowest end

of the advisory Guidelines range. Doe. 341 at 12-18. It then entered

Judgment for 151 months' imprisonment. Doe. 247. Smokes did not

appeal.   See doe. 163 at 4 (plea agreement waiving right to direct

appeal) & doe. 243 (Post-Conviction Consultation Certification,

attesting he had "decided not to file an appeal, and [that his] attorney

ha[d] explained to [him] the consequences of failing to do so.").

H. ANALYSIS

     Movant argues that his attorney was ineffective for failing to

(1) "fully investigate the adequacy of his criminal history category,"

(2) move for a downward departure under U.S.S.G. § 4A1.3(b)(1),

(3) argue for a § 5K1. 1 section reduction after he "fully satisfied his

obligations under the terms of the Plea Agreement," and (4) "advocate

                                     11
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 5 of 12




for the benefits to which [movant] is entitled" under the plea

agreement. Doc. 344 at 3-8. Because of these errors, he claims, his plea

agreement (and, thus, his double waiver of his direct and collateral

appeal rights) was unknowingly and involuntarily made.          Id.   All of

these claims fail.

      "To prevail on a claim of ineffective assistance of counsel, a

prisoner must prove that his counsel rendered deficient performance

and that he was prejudiced by the deficient performance."       Castillo v.

United States, 816 F.3d 1300, 1303 (11th Cir. 2016) (citing Strickland v.

Washington, 466 U.S. 668, 687 (1984)). In evaluating adequacy of

performance, "counsel is strongly presumed to have rendered adequate

assistance and made all significant decisions in the exercise of

reasonable professional judgment."       Strickland, 466 U.S. at 690. "For

performance to be deficient, it must be established that, in light of all

the circumstances, counsel's performance was outside the wide range of

professional competence." Putman v. Head, 268 F.3d 1223, 1243 (11th

Cir. 2001).

     As to the prejudice prong, the prisoner must show "that there is a

reasonable probability that, but for counsel's unprofessional errors, the

                                     5
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 6 of 12




result of the proceeding would have been different."        Strickland, 466

U.S. at 694; Matire v. Wainwright, 811 F.2d 1430, 1434 (11th Cir. 1987)

(same); see also Butcher v. United States, 368 F.3d 1290, 1293 (11th

Cir. 2004) ("[A]ttorney errors come in an infinite variety and are as

likely to be utterly harmless in a particular case as they are to be

prejudicial. That the errors had some conceivable effect on the outcome

of the proceeding is insufficient to show prejudice.").

      Smokes faults his attorney for failing to object to the calculation of

his criminal history and move for a downward departure. Doc. 344 at 5-

6. But for counsel's failures, he believes, a "viable argument could have

been made to support a finding that his criminal history significantly

over-represented the seriousness of his criminal history." Id. at 6. But

at sentencing, Smokes said he had reviewed with counsel and had no

objections to the PSR. Doc. 341 at 4-5. And his criminal history

included 2 prior convictions for sales of cocaine, serious drug offenses

which classed him as a career offender under the Guidelines. PSR at

1124-32; see U.S.S.G. § 4B1.1(a)(3) (requiring "at least two" predicate

convictions). No argument counsel could have made would have

unwound Smokes' criminal history or changed his career offender

                                      6
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 7 of 12




status. And the failure to raise a meritless issue does not render his

performance deficient. Diaz-Boyzo v. United States, 294 F. App'x 558,

559 (11th Cir. 2008); United States v. Winfield, 960 F.2d 970, 974 (11th

Cii'. 1992).

      Further, contrary to movant's contention, counsel did request a

downward variance and asked that the Court sentence Smokes below

the advisory guidelines. Doe. 341 at 12-16. He highlighted movant's

"short-lived," minor role in the conspiracy as a "street-level dealer," "not

a leader," and emphasized that his criminal history was both nonviolent

and "not extensive."     Id. at 12-13.    Counsel also argued that the

probation officer had recommended the lowest end of the sentencing

guidelines, and that movant had been both "cooperative and respectful

with authorities throughout the prosecution process despite his not

pursuing the 5K1.1 [motion for downward departure] at the moment."

Id. at 14-15; see also Id. at 16-17 (prosecutor noting that Smokes was in

a good position for a § 5K1.1 motion if he continued cooperating).

      In view of counsel's argument, though the Court determined that

movant was "accurately characterized as a career offender," it imposed

sentencing at the lowest end of the guidelines -- only one month higher

                                     7
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 8 of 12




than the highest end of the range            absent a career offender

enhancement. Id. at 17-19. Though he may not have appreciated fully

counsel's effective advocacy at the time, Smokes actually received the

full benefit of counsel's expertise. Despite being properly found a career

offender under the guidelines in yet another cocaine sale, counsel

successfully secured a sentence only one month removed from the

sentence Smokes seeks now in his § 2255 motion: one without the

career offender enhancement.

     Smokes' post-sentencing claims also fail. There is no evidence

that he sought a § 5K1.1 motion based on his cooperation, so counsel

cannot be faulted for pursuing one. See doc. 341 at 15 (explaining that

Smokes had elected not to pursue a § 5K1.1 motion based on "some

ancillary factors"). Moreover, the plea agreement he signed only

obligated the Government to "consider" whether such a motion was

appropriate -- not to file that motion under any and all circumstances.

Doc. 163 at 7-8 (noting that any motion "conditioned on his cooperation

and truthfulness" would be made at the Government's "sole discretion");

see also doc. 348 at 14 (testifying that no one had promised him an

exact sentence). To the extent Smokes believes he fully cooperated and

                                     8
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 9 of 12




the Government should have filed a § 5K1. 1 motion but didn't, that

discretionary decision is a matter outside this Court's § 2255 purview.

See Wade v. United States, 504 U.S. 181, 185-86 (1992) (a prosecutor's

refusal to file a substantial-assistance motion will be reviewed only if

based on an unconstitutional motive, i.e., defendant's race or religion;

mere refusal or "generalized allegations of improper motive" will not

entitle a defendant to a remedy, discovery, or even an evidentiary

hearing).

      The Court cannot ascertain what other unidentified benefits

Smokes believes he was entitled to under the plea agreement, aside

from general dissatisfaction with his final 151-month sentence.

See docs. 343 & 344. But his regret that things didn't go as well as he

might have hoped cannot sustain an IAC claim. See Freeman v. United

States, 2011 WL 2680494 at *5 (N.D. Ga. June 10, 2011) ("All [m]ovant

shows is that [he] would have preferred a more favorable plea

agreement -- such a showing could be made by almost anyone who has

entered a guilty plea.").

      Finally, to the extent defendant implies that his plea was

unintelligently made based on his disappointment with the sentencing

                                     9
    Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 10 of 12




outcome, his claim fails on the merits. Smokes is bound by his

unambiguous testimony that he was in fact guilty of the charge, was

satisfied with counsel and the way he'd represented him, fully

understood the charges against him and what he was pleading guilty to,

had had the charges and applicable guideline ranges fully explained to

him, and that no one had pressured him or coerced him to plead guilty.

Doe. 348 at 6-23; see Blackledge, 431 U.S. at 74; Gonzalez-Mercado, 808

F.2d at 800 n. 8; Stitzer, 785 F.2d at 1514 n. 4. Movant cannot now

escape his sworn testimony at the Rule 11 hearing that his plea was

knowingly and voluntary made to now claim his plea was neither.

III. CONCLUSION

      Accordingly, Janario Smokes' § 2255 motion should be DENIED.'

For the reasons set forth above, it is plain that he raises no substantial

claim of deprivation of a constitutional right. Accordingly, no certificate



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      Because his motion is entirely without merit and his contentions are
unambiguously contradicted by the record, Smoke's request for an evidentiary
hearing (docs. 343 at 13 & 344 at 9) is DENIED. Winthrop-Redin v. United States,
767 F.3d 1210, 1216 (11th Cir. 2014) (a hearing is unnecessary "if the allegations are
'patently frivolous,' 'based upon unsupported generalizations,' or 'affirmatively
contradicted by the record."); Holmes v. United States, 876 F.2d 1545, 1553 (11th
Cir. 1989) (same); Lynn, 365 F.3d at 1239 (where the motion "amount[ed] to nothing
more than mere conclusory allegations, the district court was not required to hold an
evidentiary hearing on the issues and correctly denied Lynn's § 2255 motion.").
                                          10
   Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 11 of 12




of appealability should issue. 28 U.S.C. § 2253; Fed. R. App. P. 22(b);

Rule 11(a) of the Rules Governing Habeas corpus cases Under 28

U.S.C. § 2255 ("The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.").

Any motion for leave to appeal in forma pauperis therefore is moot.

     This Report and Recommendation (R&R) is submitted to the

district judge assigned to this action, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and this court's Local Rule 72.3. Within 14 days of

service, any party may file written objections to this R&R with the

Court and serve a copy on all parties. The document should be

captioned "Objections to Magistrate Judge's Report and

Recommendations." Any request for additional time to file objections

should be filed with the clerk for consideration by the assigned district

judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge's findings and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

                                    11
   Case 6:15-cr-00001-LGW-CLR Document 362 Filed 02/17/17 Page 12 of 12




rights on appeal. 11th Cir. R. 3-1; see Symonett v. VA. Leasing Corp.,

648 F. App'x 787, 790 (11th Cir. 2016); Mitchell v. U.S., 612 F. App'x

542, 545 (11th Cir. 2015).

     SO REPORTED AND RECOMMENDED, this 17th day of

February, 2017.



                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




                                    12
